                         UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF TENNESSEE
                                 AT KNOXVILLE




 UNITED STATES OF AMERICA                            )
                                                     )
 v.                                                  )      No. 3:05-CR-146
                                                     )      (Phillips)
 ROBERT ANTOINE TRUSS, et al.,                       )



                                       ORDER



              There being no timely objection by defendants, see 28 U.S.C. § 636(b)(1),

 and the court being in complete agreement with the magistrate judge, the Report and

 Recommendation [Doc. 98] filed by the Honorable C. Clifford Shirley, United States

 Magistrate Judge, on April 21, 2006, is hereby ACCEPTED IN WHOLE whereby

 defendants’ motions to suppress [Docs. 54, 64, 83] are DENIED.



                                        ENTER:



                                              s/ Thomas W. Phillips
                                            United States District Judge




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